1                                                                    The Honorable Brian A. Tsuchida
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5
                                  UNITED STATES DISTRICT COURT
6                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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8    UNITED STATES OF AMERICA,                             No. MJ25-157

9
                    Plaintiff,
                                                            ORDER GRANTING MOTION TO
10
            v.                                              PERMIT TRAVEL

11   BRADLEY WHALEY,

12
                    Defendant.

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14          This matter comes before the Court upon a motion by defendant, Bradley Whaley, to

15   permit him to travel to South Africa. Having considered the motion and the entirety of the records

16   and file herein, and finding good cause, the Court hereby GRANTS this motion.

17          The Court ORDERS:
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                 1. Mr. Whaley may travel to South Africa from April 9 to April 27, 2025.
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                 2. Mr. Whaley shall provide a complete itinerary of his trip to the probation office.
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                 3. Mr. Whaley shall comply with all conditions of release and all directives of the
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                    probation office during and in relation to his travel.
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                 4. The Clerk of the Court shall return Mr. Whaley’s passport to him on April 8, 2025.
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                 5. Mr. Whaley shall return the passport to the Clerk of the Court no later than April
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                    29, 2025
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      ORDER GRANTING MOTION TO PERMIT TRAVEL                       Black & Askerov, PLLC
      (Bradley Whaley; MJ25-157) - 1                              705 Second Avenue, Suite 1111
                                                                       Seattle, WA 98104
                                                                206.623.1604 | Fax: 206.658.2401
             6. The bond status hearing currently scheduled for April 25, 2025 is rescheduled to
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                 _______________.
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4         DONE this ____ day of April, 2025.

5

6                                              The Honorable Brian A. Tsuchida
                                               United States Magistrate Judge
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